          Case 1:14-cv-00851-JEB Document 86-7 Filed 08/03/18 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



AMERICAN HOSPITAL ASSOCIATION, ¿l a/,,
                          Plaintifß,
                                                          Civil Action No. 14-cv-0085    1 (JEB)
                   v.

ALEX M. AZAP* ll, in his official capacity         as
SECRETARY OF HEALTH
AND I{UMAN SERVICES,
                          l)efendant.



                           DECLARATION OF'SHERRI G. MCOUEEN



I, Sheni G. McQueen, declare      as    follows:

         l.        I am the Director of the Financial Services Group (FSG) within the Office of

Financial Management (OFM) of the Centers for Medicare & Medicaid Services (CMS) within

the DepaÍment of Health and Human Services (HHS or Department). I have held this position

since   April 5,2015. Among my duties at HHS, I have responsibility     f'or   CMS' debt collection

activities, provider and health plan audit and reimbursement operations, banking services,

settlements, and coordination of benefits functions. I have also served as the FSG Deputy

Director and Director of the Division of Medicare Benefits Coordination. Prior to joining CMS

in 2008, I worked over l9 years in the private sector for one ofthe largest health insulers in the

New York metropolitan area.

         2.        The statements made in this declaration are based on my personal knowledge,

information contained in agency files, and information furnished to me in the course of my

official duties.
        Case 1:14-cv-00851-JEB Document 86-7 Filed 08/03/18 Page 2 of 3



        3.          On June 8, 2018, the expression-of-interest period closed for the Low Volume

Appeals settlement initiative (LVA). As of June 30,2018, 8,382 appellants submitted

expressions of interest in the LVA program, and 4,57 5 of those appellants had potentially

eligible appeals pending at the Off,rce of Medicare Hearings and Appeals (OMHA) and/or and

the Medicare Appeals Council (Council) at the Depaftmental Appeals Board. As of June 30,

2018, CMS has settled 13,315 appeals from those appellants. CMS expects to settle over 25,000

appeals through      LVA.

        4.          CMS is actively negotiating with Inpatient Rehabilitation Facility (lRF)

representatives, including the American Medical Rehabilitation Providers Association (AMRPA)

and the Fund for Access to Inpatient Rehabilitation (FAIR), which have indicated that they

represent a significant number of IRFs. The last settlement meetings CMS had with IRF

representatives were on May 23,2018 and August 2, 2018. The negotiations were fruitful, and

CMS expects that additional settlement meetings will be scheduled in the upcoming months.            If
settlement talks are successful, and appellants agree, nearly 12,000 IRF appeals could be

removed from the backlog.

        5.          During every Settlement Conference Facilitation (SCF), CMS presents    a good-


faith settlement offer to the provider or supplier. In determining the settlement olfer to give

through SCF, CMS considels the following factors: (1) the type ofitem ol service at issue, (2)

the governing policy regarding the item or service at issue, (3) the cost to the Deparlment fot

adjudicating the appeals at issue, (4) a sample ofprovider's claims, and (5) the provider's

historical overturn rate on appeal at the Administrative Law Judge level. Duling the SCF

negotiation, providers have the oppoúunity to submit position papers regarding the claims at

issue. If   a   provider submits information in the position paper on claims that could have been



                                                     2
             Case 1:14-cv-00851-JEB Document 86-7 Filed 08/03/18 Page 3 of 3



payable if the provider had billed with a different code, CMS would consider that information in

its offer.




         6.       CMS is also now offering an "express" SCF option. Beginning in June 2018,

after CMS confirms the provider's eligibility for the SCF program, CMS automatically provides

a settlement offer to appellant based on preliminary data available to CMS, e.g.,    ALJ overturn

rates, cost of adjudication, and type   ofclaim or service. Eligible appellants can choose to take

the SCF Express offer or proceed to the full SCF process.     ,See SCF   Program Details at

https:i/www.hhs.gov/about/agencies/omha/aboulspecial-initiatives/settlement-conference-

facilitation/index.html.



         I dcclarc undcr pcnalty ofperjury that the foregoing is true and correct to the best of my

knowledge and belief.




         Executed on August 3, 201 8 in Baltimore, Maryland




                                         Sheni G. McQueen




                                                   3
